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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

     In re:                                           Chapter 11

     OPEN ROAD FILMS, LLC, a Delaware                 Case No. 18-12012 (LSS)
     limited liability company, et al.,1
                                                      (Jointly Administered)
                             Debtors.
                                                      Re: Docket No. 1008

     JOHN ROUSSEY, as Plan Administrator
     of the Joint Chapter 11 Plan of
     Liquidation Proposed by Debtors and
     Official Committee of Unsecured                 Adv. Proc. No. 20-50610 (LSS)
     Creditors,

                             Plaintiff,

              v.

     DONALD TANG, an individual; TANG
     MEDIA PARTNERS LIMITED, a Cayman
     Islands limited company; TANG MEDIA
     PARTNERS LLC, a Nevada limited
     liability company; IM GLOBAL, LLC, a
     Delaware limited liability company;
     GLOBAL ROAD ENTERTAINMENT
     LLC, a Delaware limited liability
     company; JIE KANG a/k/a/ KEVIN
     KANG, an individual; ROBERT G.
     FRIEDMAN, an individual; and DOES 1
     through 20;

     AMENDED1 NOTICE OF AGENDA FOR HEARING SCHEDULED ON AUGUST 17,
     2020 AT 10:00 A.M. (PREVAILING EASTERN TIME), BEFORE THE HONORABLE
    LAURIE SELBER SILVERSTEIN AT THE UNITED STATES BANKRUPTCY COURT
        FOR THE DISTRICT OF DELAWARE, LOCATED AT 824 NORTH MARKET
      STREET, 6TH FLOOR, COURTROOM NO. 2, WILMINGTON, DELAWARE 19801

                   THIS HEARING HAS BEEN CANCELLED BY THE COURT
                    AS NO MATTERS ARE SCHEDULED TO GO FORWARD.

1
    Amended items are in bold.



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CONTINUED MATTERS:

1.      Plan Administrator’s Fourth (Non-Substantive) Objection to Certain (A) Duplicative
        Claims and (B) Insufficient Documentation Claims [Filed: 5/29/20] (Docket No. 979).

        Response Deadline: June 12, 2020 at 4:00 p.m. ET

        Responses Received: None.

        Related Documents:

        a.       [Proposed] Order (I) Sustaining Plan Administrator’s Fourth (Non-Substantive)
                 Objection to Certain (A) Duplicative Claims and (B) Insufficient Documentation
                 Claims [Filed: 5/29/20] (Docket No. 979, Exhibit A).

        b.       Notice of Submission of Proofs of Claim in Connection with Plan Administrator’s
                 Fourth (Non-Substantive) Objection to Certain (A) Duplicative Claims and (B)
                 Insufficient Documentation Claims [Filed: 6/24/20] (Docket No. 998).

        c.       Certification of Counsel Regarding Plan Administrator’s Fourth (Non-
                 Substantive) Objection to Certain (A) Duplicative Claims and (B) Insufficient
                 Documentation Claims [Filed: 6/26/20] (Docket No. 1001).

        Status: The Plan Administrator has filed a revised proposed order under certification of
        counsel resolving certain claims and respectfully requests entry of the order. All
        remaining claims are continued until September 15, 2020 at 3:30 p.m. (ET).

2.      Plan Administrator’s Fifth (Substantive) Objection to Certain (A) No Liability Claims
        and (B) Reduce and Allow Claims [Filed: 6/12/20] (Docket No. 980).

        Response Deadline: June 12, 2020 at 4:00 p.m. ET

        Responses Received: None.

        Related Documents:

        a.       [Proposed] Order (I) Sustaining Plan Administrator’s Fifth (Substantive)
                 Objection to Certain (A) No Liability Claims and (B) Reduce and Allow Claims
                 [Filed: 6/12/20] (Docket No. 980, Exhibit A).

        b.       Notice of Submission of Proofs of Claim in Connection with Plan Administrator’s
                 Fifth (Substantive) Objection to Certain (A) No Liability Claims and (B) Reduce
                 and Allow Claims [Filed: 6/24/20] (Docket No. 999).

        c.       Certification of Counsel Regarding Plan Administrator’s Fifth (Substantive)
                 Objection to Certain (A) No Liability Claims and (B) Reduce and Allow Claims
                 [Filed: 6/26/20] (Docket No. 1002).




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        Status: The Plan Administrator has filed a revised proposed order under certification of
        counsel resolving certain claims and respectfully requests entry of the order. All
        remaining claims are continued until September 15, 2020 at 3:30 p.m. (ET).

ADDITIONAL CONTINUED MATTER:

3.      Pre-Trial Conference Regarding Adversary Complaint [Filed 5/24/20] (Adv. Pro.
        No. 20-50610, Docket No. 1).

        Related Documents:

        a.       Summons and Notice of Pretrial Conference in an Adversary Proceeding
                 [Filed 5/24/20] (Adv. Pro. No. 20-50610, Docket No. 3).

        Status: The pre-trial conference on this matter has been continued until September
        15, 2020 at 3:30 p.m. (ET).


 Dated: August 17, 2020                        PACHULSKI STANG ZIEHL & JONES LLP


                                               /s/ Colin R. Robinson
                                               Robert J. Feinstein (NY Bar No. 1767805)
                                               Scott L. Hazan (NY Bar No. 1002013)
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                                               Counsel for the Plan Administrator




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